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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION

                                      Case No.: 1:18-cv-23576-KMW

  AM GRAND COURT LAKES LLC &
  AM 280 SIERRA DRIVE LLC,

          Plaintiffs,

  v.

  ROCKHILL INSURANCE COMPANY,

        Defendant.
  ______________________________________/

       PLAINTIFFS’ MOTION FOR DIRECTED VERDICT AND ENTRY OF FINAL
    JUDGMENT AND PLAINTIFFS’ RESPONSE TO THE DEFENDANT’S MOTION FOR
                            DIRECTED VERDICT

       COMES NOW, the Plaintiffs, AM Grand Court Lakes and AM 280 Sierra Drive, by and

  through undersigned counsel and pursuant to Fed. R. Civ. P. 50 and 54, and hereby state as follows

  in support of their Motion for Directed Verdict and Entry of Final Judgment, and Response to the

  Defendant’s Motion for Directed Verdict. [D.E. 198].

       1. On November 22, 2019, the Jury entered a special verdict which established that the

          Defendant breached the subject contract of insurance by not paying $9,280,000.00 in

          covered damages. See Question 1 and 4 of Verdict Form. [D.E. 202].

       2. Prior to resting their respective cases, and with the Court reserving jurisdiction on the

          matter, both the Plaintiffs and the Defendant moved for a directed verdict pursuant to Rule

          50.

       3. In relation thereto, and in support of the Plaintiffs’ position that the Jury’s findings relating

          to coverage were legally and factually sound, and that it was evidenced without genuine



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        evidentiary dispute that the compensatory damages equated to at least the Policy limits of

        $15,512,500, the undisputed evidence at trial provided as follows.

     (1.) The “Policy” of insurance simply required the Plaintiffs to prove by the greater weight of

        the evidence that the physical damages to the “Insured Structures” arose during the Policy

        period [D.E. 29-1]. See Phoenix Insurance Co. v. Branch, 234 So.2d 396 (Fla. 4th DCA

        1970) (“Recovery under an ‘all risks’ policy generally extends to all losses not resulting

        from misconduct or fraud unless the policy contains a specific provision expressly

        excluding the loss from coverage. Once the insured establishes a loss apparently within the

        terms of an “all risks” policy, the burden shifts to the insurer to prove that the loss arose

        from a cause which is excepted.”); B & S Assocs., Inc. v. Indem. Cas. & Prop., Ltd., 641 So.

        2d 436, 437 (Fla. 4th DCA 1994). (“Coverage should be extended under an all-risks

        insurance policy, even when the cause of the damage is unknown.”) At said point, the

        burden shifted upon the Defendant to establish that in part or in whole the proven damages

        were efficiently and proximately caused by an excluded cause of loss. Id.

     (2.) The Plaintiffs met the stated burden of proof by way of the following:

        (a.) At the behest of the Defendant’s counsel at trial, the jury was presented with the

            affidavits of the Plaintiffs’ retained experts, which included Alfredo Brizuela, P.E., a

            forensic engineer and general contractor who fully detailed therein and by way of live

            testimony that the forces of wind related to Hurricane Irma were of such a nature that

            openings throughout the exterior envelope (i.e. roof, exterior walls and floors, exterior

            windows and doors, catwalks, intersects between the walls and unit specific air

            conditioning units) had consumed the vast majority of the Insured Structures’ 164,000

            square feet. As established by way of hundreds of hours of diagnostic tests and

            inspections, the conditions were such that 80% of the exterior and interior components
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           of the Insured Structures were exhibiting elevated, toxic and corrosive moisture

           conditions. Further, and as opposed to performing partial or piecemeal repairs of the

           exterior, structural and interior components of the Insured Structures, he opined that it

           was readily apparent that the most efficient and economic means of repair provided for

           the demolition and reconstruction of the Insured Structures. In serving his function as an

           engineer, Mr. Brizuela testified that he was obligated to consider “economic value” of

           the opined upon course and scope of repair.

        (b.) The opinions of Mr. Brizuela were also supported by the affidavits (which were entered

           into evidence at the request of Defendant’s counsel [D.E. 192] and [D.E. 203]) and

           testimony of the Plaintiffs’ two other experts, Sergio Arce and Alain Gonzalez, the

           latter of which had significant experience in building and rebuilding assisted living

           facilities such as the one in question. As is commonplace for a general contractor when

           bidding for or pricing a construction project such as the one in question, Mr. Gonzalez

           attested to in certain terms that the accepted means of so doing in the industry was to

           draw the valuation on a square foot basis and the market place’s usual and customary

           charges and reimbursement rates. Like Mr. Brizuela, Mr. Gonzalez had significant

           training, education and experience in relation to building and rebuilding medical

           facilities such as the one in question, and even on the most conservative end, Mr.

           Gonzalez stated that the rebuild cost for the Insured Structures exceeded $300 per

           square foot. Even at $100 per square foot, which as a function of common sense or

           knowledge would fall far below the cost of tearing down and rebuilding the Insured

           Structures, the opined upon course and scope of repair would exceed the $15,512,500 in

           coverage that was at issue for the agreed upon insured value as set forth in the Policy.

           The collective opinions as stated were the subject of prior rulings in this case which
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           now run inapposite to the Defendant’s conclusory and unsubstantiated by law, fact or

           reasons argument, that a general contractor and/or engineer cannot opine that the

           repairs to the Insured Structures (5 buildings) cannot be calculated on a per square foot

           basis as generally provided for as the accepted valuation means in the marketplace –

           which no evidence was presented by the Defendant to support a contrary conclusion.

        (c.) As to whether the Defendant in turn met its burden of establishing the damages at issue

           were excluded or simply not so as attested to by all three of the Plaintiffs’ experts, the

           Defendant’s very own engineer, Mr. Philmon, testified at trial that in the course of

           approximately 4 hours he had “seen enough” during his inspection, and that there was

           no question that the Insured Structures were water damaged from “top to bottom.”

           Although at trial he attempted at one point to opine, for the first time, that all the water

           damages were due to defective and unit specific air conditioning units or windows, he

           readily admitted during cross-examination that he was not positioned to opine as to

           whether in fact the air conditioning units or windows failed in relation to any particular

           excluded cause or loss, or that they were the efficient proximate cause of the extensive

           water damages that he conveyed in poignant terms as being pervasive throughout the

           Insured Structures. Rather, he testified at trial that: (1.) the scope of his retention as an

           expert was limited to his visible observations and the extent of roof damages and

           corresponding repairs; (2.) he did not perform any diagnostic moisture assessments in

           order to account for the scope and value of repair in relation to the pervasive and

           systemic building system failures that allowed obvious and “top to bottom” water

           damages; (3.) he only accounted for patent visible damages due to wind, and in so

           doing, did not account to what to degree there were concurring causes of loss that were

           latent in nature and coinciding with wear and tear-which is the only excluded cause of
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           loss that was generally alluded to; and (4.) aside for some very limited areas (which

           clearly accounted for less than 1% of the total area at issue which exceeded 31 miles of

           enclosed and covered areas) whereat he saw visible indicators of conditions that could

           be related to “wear and tear” related openings, he was not postured to opine as to the

           location of the latent openings, much less the cause of the latent openings, or the

           reasonable, necessary and related repairs associated therewith. Simply put, he did not,

           and could not, contest that the “top to bottom” water damages that were obvious, did not

           serve to create a constructive total loss as opined by all three of the Plaintiffs’ experts

           by way of their trial testimony, as well as, their affidavits that counsel for the Defendant

           chose to voluntarily enter into evidence for the Jury’s consideration. [D.E. 192] and

           [D.E. 203].

        (d.) The Defendant’s only other expert, Mr. Mitchell, was not a licensed contractor or

           engineer, and admittedly was not qualified and licensed to independently render any

           expert opinion as to cause, scope and value of repair. Moreover, he attested that in

           conjunction with Mr. Philmon, the scope of his retention was to account for the costs of

           performing repairs to the roofing system as opined by Mr. Philmon as being related to

           patently visible wind related damages that arose as a consequence of Hurricane Irma.

        (e.) Although the Plaintiffs called as a witness in their case in chief the Defendant’s

           corporate representative, Mrs. Corbett, the Defendant voluntarily chose not to cross-

           examine or otherwise call Mrs. Corbett to testify in defense of the Plaintiffs’ claim. That

           said, and on direct examination, Mrs. Corbett attested that an insurer, who by extension

           performs per the contract of insurance by way of adjuster, relied upon her to gather the

           necessary experts to determine whether there were any excluded causes or claims

           presented. Notwithstanding these predicated considerations and her obligations as an
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           adjuster and corporate representative at trial, Mrs. Corbett was unable to articulate

           which causes or claims were genuinely being disputed by the Defendant accordingly.

           When provided an opportunity to cross-examine Mrs. Corbett, the Defendant’s counsel,

           Mrs. Levy, stated that she would call Mrs. Corbett when presenting her case. The

           promise proved hollow, and the record clearly reflects that the Defendant’s corporate

           representative was admittedly unable to specify which excluded causes were being

           asserted as having specific and substantive application to the damages evidenced by the

           Plaintiffs.   Thereby and otherwise, the Defendant was unable to evidence in any

           meaningful, specific and substantive form that any of the water damages that its own

           expert (who Mrs. Corbett attested she was solely relying upon) admitted were from top

           to bottom of the 164,000 square feet property were excluded. Most significantly

           however in relation to whether the Plaintiffs are entitled to a judgement in an amount

           that equates to the Policy limits and “Agreed Value” [D.E. 29-1] of $15,512,500, the

           Defendant did not present any evidence to support a conclusion that the admitted to “top

           to bottom” water damages were preexisting, excluded, or subject to being remedied for

           a lesser amount than those attested to by the Plaintiffs’ experts as so after collectively

           expending approximately 400 hours inspecting and accounting for a diagnostic

           assessments which substantiated same in objective and dispositive form.

        (f.) Without being impeached in any substantive or meaningful form, the Plaintiffs’

           corporate representative, Mr. Kirschner, attested that the Insured Structures were

           purchased for 9 million dollars in 2013, and thereafter approximately 9 million dollars

           were expended in improvements. Moreover, that he could affirm based on his own

           personal knowledge and as CFO for the Plaintiffs, that the Insured Structures were duly

           maintained and repaired in advance of the subject loss that forced the Plaintiffs’ to
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            surrender ownership once it was confirmed that the water damages pervasively

            developed throughout the Insured Structures after the subject loss.

     4. Per the record evidence, coupled with the issues of fact and law that govern this dispute, the

        undisputed evidence served to fully support the Jury’s findings that the Defendant did not

        meet the essential elements of any defense. Point in fact, and to the extent that there was

        exceptionally limited testimony or evidence to support any defense that would even

        approach an amount of damages that fell below the Agreed Value provision under the

        Policy, the Defendant failed to present a singular alternative scope or valuation of repair in

        relation to the water damages that admittedly consumed the Insured Structures. Rather, and

        presumably hoping to draw confusion and conflation on an all or nothing basis, the

        Defendant relied upon monolithic, broad brush, self-serving and shotgun assertion of

        causation defenses in relation to a massive structure that in closing its counsel attempted to

        persuade the Jury into believing that the undisputed water damages from top to bottom were

        due to nothing more than the fact that the building was just “old” and happened to develop

        systemic failures throughout as a consequence thereof.

     5. Considering the fact that the Insured Structures were purchased for 9 million dollars, that

        there were 9 million dollars of improvements, and that the Defendant argued to the jury in

        opening statements that the Plaintiffs did not in fact sustain damages since they were able to

        sell the Insured Structures for 10 million dollars (which served to invite error and force the

        Plaintiffs’ counsel into a position of addressing the sale and the buyer’s assignment interest

        during the Plaintiffs’ corporate representative’s testimony), the Jury may have very well

        been improperly influenced into awarding an amount that corresponded with the purchase

        price or price of improvements. Irrespective, and undeniably, the evidence presented at

        trial served to unequivocally establish that: (1.) water damages had fully consumed the
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        Insured Structures; (2.) the Defendant did not meet its burden of establishing that the top to

        bottom water damages were in a meaningful form preexisting or related to a specified

        excluded cause of loss; and (3.) that the Defendant did not provide any evidence to establish

        that the Plaintiffs’ three experts were incorrect in concluding that the most efficient and

        economic means of repair provided for the demolition of the Insured Structures which were

        insured per an “Agreed Value” provision, which states as follows:

                G. Optional Coverages
                If shown as applicable in the Declarations, the following Optional Coverages apply
                separately to each item.
                1. Agreed Value
                    a. The Additional Condition, Coinsurance, does not apply to Covered Property
                       to which this Optional Coverage applies. We will pay no more for loss of or
                       damage to that property than the proportion that the Limit of Insurance under
                       this Coverage Part for the property bears the Agreed Value shown for it in
                       the Declarations.
                    b. If the expiration date for this Optional Coverage shown in the Declarations is
                       not extended, the Additional Condition, Coinsurance, is reinstated and this
                       Optional Coverage expires.
                    c. The terms of this Optional Coverage apply only to loss or damage that
                       occurs:
                       (1) On or after the effective date of this Optional Coverage; and
                       (2) Before the Agreed Value expiration date shown in the Declarations or
                            the policy expiration date, whichever occurs first.

                See CP 00 10 06 07 page 14 of 15. [D.E. 29-1]. See also Agreed Value as provided
                for in the referenced declarations page [D.E. 29-1].

     6. As such, the Plaintiffs request that the Court invokes its gatekeeper role of conforming the

        judgment in its favor in accordance with the Policy and competent evidence presented at

        trial, and in so doing, enters a judgment in the amount of $15,512,500, and pursuant to Fla.

        Stat. Secs. 627.71031 and 55.03, awards prejudgment interest from the date that notice of

        the claim was provided to the Defendant on October 10, 2017 [D.E. 160-1].




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                                     MEMORANDUM OF LAW

     I.      Plaintiffs’ and Defendant’s burden of proof per the “all-risk” Policy

             Per governing law and by the plain language of the Policy, a “Covered Peril” is any

          direct physical loss to property during the Policy period. See Phoenix Insurance Co. v.

          Branch, 234 So.2d 396 (Fla. 4th DCA 1970) (“Recovery under an ‘all risks’ policy

          generally extends to all losses not resulting from misconduct or fraud unless the policy

          contains a specific provision expressly excluding the loss from coverage. Once the insured

          establishes a loss apparently within the terms of an “all risks” policy, the burden shifts to

          the insurer to prove that the loss arose from a cause which is excepted.”); Egan v.

          Washington General Insurance Corp., 240 So.2d 875 (Fla. 4th DCA 1970) (“The general

          rule of evidence is that a plaintiff seeking to recover under an ‘all risks’ policy has the

          burden of proving that (1) the policy was in full force and effect; (2) a loss occurred to the

          insured’s property during the effective policy period.”); B & S Assocs., Inc. v. Indem. Cas.

          & Prop., Ltd., 641 So. 2d 436, 437 (Fla. 4th DCA 1994). (“Coverage should be extended

          under an all-risks insurance policy, even when the cause of the damage is unknown.”).

             To draw further clarity of the exceptionally simplistic legal and factual issue in

          question which is governed by a legion of binding precedent which includes the Florida

          Supreme Court’s holding in Fayad v. Clarendon National Insurance Company, 899 So.2d

          1082, 1089 (Fla. 2005), per an “all-risk” policy such as the one in question the insured

          meets the initial burden of proof by way of nothing more than evidencing that the

          physical damages to the insured property arose during the policy period. In other words,

          and irrespective of whether the insured’s honest and subjective beliefs prove accurate at

          trial, it is not the legal obligation of an insured (who is typically a layperson that is not

          postured to provide a qualified expert opinion) per an “all-risk” Policy to prove the actual
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         cause of the physical damages that are otherwise evidenced to have occurred at some point

         during contracted for policy period that so provides. As such, and once the insured meets

         the stated burden of proof, the insurer who wishes to challenge coverage must then

         evidence that the resulting damages were in part, or in whole, the result of one or more

         excluded causes of loss (i.e. wear and tear, latent defect, construction defect, etc.) that

         follow the general coverage provision which provides coverage for all losses and expenses

         that arise from direct physical loss to property during the Policy period.

            To draw further reference to the holding in Fayad, the Florida Supreme Court was

         confronted with the issue of whether an exclusion for “earth movement” served to bar

         coverage for losses and damages arising from earth movement in association with blasting

         activities in the surrounding areas. The blasting activities themselves were not an excluded

         cause of loss. Nonetheless, and even though the blasting activities were alleged to be the

         catalyst to the ensuing earth movement, the insurer on appeal insisted that the trial court had

         not erred in finding that the cause of loss was excluded. In rejecting the insurer’s argument,

         the Florida Supreme Court further reasoned and explained the considerations at hand as

         follows.

            The specific type of insurance policy involved in this case is, as in Castillo and
            Phoenix, an all-risk policy. Unless the policy expressly excludes the loss from
            coverage, this type of policy provides coverage for all fortuitous loss or
            damage other than that resulting from willful misconduct or fraudulent acts.
            See Sun Ins. Office, Ltd. v. Clay, 133 So. 2d 735, 739 (Fla. 1961); Wallach v.
            Rosenberg, 527 So. 2d 1386, 1388 (Fla. 3d DCA 1988) (quoting Phoenix, 234
            So. 2d at 398); Jane Massey [*1086] Draper, Annotation, Coverage Under All-
            Risk Insurance, 30 A.L.R. 5th 170, 170 (2004). Although the term "all-risk" is
            afforded a broad, comprehensive meaning, see Wallach, 527 So. 2d at 1388, an
            "all-risk" policy is not an "all loss" policy, and thus does not extend coverage
            for every conceivable loss.

            In deciding whether an all-risk policy [**8] excludes coverage for an insured's
            claimed damages, we are guided by well-established principles of insurance
            contract interpretation. We begin with the guiding principle that insurance
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           contracts are construed in accordance with "the plain language of the policy as
           bargained for by the parties." Auto-Owners Ins. Co. v. Anderson, 756 So. 2d
           29, 33 (Fla. 2000) (quoting Prudential Prop. & Cas. Ins. Co. v. Swindal, 622
           So. 2d 467, 470 (Fla. 1993)) (alteration in original). However, if the salient
           policy language is susceptible to two reasonable interpretations, one providing
           coverage and the other excluding coverage, the policy is considered
           ambiguous. See Anderson, 756 So. 2d at 34; Swire Pac. Holdings, Inc. v.
           Zurich Ins. Co., 845 So. 2d 161, 165 (Fla. 2003). Ambiguous coverage
           provisions are construed strictly against the insurer that drafted the policy and
           liberally in favor of the insured. See Anderson, 756 So. 2d at 34; State Farm
           Fire & Cas. Co. v. CTC Dev. Corp., 720 So. 2d 1072, 1076 (Fla. 1998); Deni
           Assocs. of Florida, Inc. v. State Farm Fire & Cas. Ins. Co., 711 So. 2d 1135,
           1138 (Fla. 1998). [**9] Further, ambiguous "exclusionary clauses are
           construed even more strictly against the insurer than coverage clauses."
           Anderson, 756 So. 2d at 34; see also Demshar v. AAA Con Auto Transport,
           Inc., 337 So. 2d 963, 965 (Fla. 1976) ("Exclusionary clauses in liability
           insurance policies are always strictly construed."). Thus, the insurer is held
           responsible for clearly setting forth what damages are excluded from coverage
           under the terms of the policy. . . .

           In line with the majority of courts, we conclude that absent specific language in
           the policy to the contrary, an earth movement exclusion is limited to damage
           caused by natural phenomena. This construction is required by principles of
           insurance contract interpretation and is consistent with the plain meaning of the
           term "earth movement." See Webster's Third New International Dictionary 715
           (1971) (stating that "earth movement" means the "differential movement of the
           earth's crust: elevation or subsidence of the land"), [**14] quoted in Sentinel
           Assocs. v. American Mfrs. Mut. Ins. Co., 804 F. Supp. 815, 818 n.2 (E.D. Va.
           1992) . . . .
           Even if we were to conclude that our interpretation and Clarendon's
           interpretation are equally reasonable, this conclusion would render the
           provision ambiguous and this ambiguity would be resolved in favor of
           coverage. This result is consistent with the dual principles that ambiguous
           provisions in insurance contracts are strictly construed against the insurer and
           that ambiguous exclusionary clauses are construed even more strictly against
           the insurer than coverage clauses. See Anderson, 756 So. 2d at 34.

           Clarendon has failed to demonstrate that its limited earth movement
           exclusionary clause encompasses blasting and other similar man-made events.
           The purpose of an all-risk policy is to protect against all risks except those
           expressly excluded. Damage caused by blasting is not expressly excluded from
           coverage in Clarendon's policy. Construing the exclusion strictly against
           Clarendon as the drafter of [**17] the all-risk insurance policy, we conclude
           that blasting is not encompassed within the earth movement exclusion. We rely
           not only on the actual language used in Clarendon's definition of earth
           movement, but also on the fact that Clarendon chose not to utilize language
           specifically excluding damage resulting from earth movement regardless of its
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               cause.

      II.      Whether the Plaintiffs are entitled to a directed verdict as to damages

            Being that the Plaintiffs’ and Defendant agreed that the vast majority of the Insured

      Structures were consumed by ensuing moisture damages that by their very nature are

      understood by even a layperson as toxic, corrosive and unsustainable in relation to their

      continued operations as an assisted living facility that houses the elderly and sick, there was no

      meaningful dispute that a complete rebuild or refinish of the Insured Structures was necessary

      in order to return them to a pre-loss condition. Since the hollow core concrete walls, catwalks,

      and floors were serving as a reservoir for the ensuing water damages at issue, coupled with the

      fact that were an exhaustive number of latent openings that were serving to cause the conditions

      in question, the Plaintiffs’ retained engineer and licensed contractor opined that there was no

      economic value to be drawn from attempting to partially repair any of the 5 buildings that make

      up the Insured Structures. The Defendant in turn did not present any evidence to the contrary,

      it would defy reason and common sense to suggest that the Insured Structures could be torn

      down and rebuilt at an amount that did not exceed the contracted for insured valuation of

      $15,512,500. Point in fact, when considering that the Insured Structures totaled 164,000 square

      feet, the tear down and rebuild cost per square foot would have to be less than $95.00 per

      square foot in order for there to be a genuine question of fact as to whether the cost of repair

      was less than the Agreed Value of the Insured Structures per the Policy provision.

            Whether in the form of a directed verdict or motion for summary judgment, it is established

      law that a litigant is entitled to judgment as a matter of law when damages as evidenced by the

      Plaintiff are not disputed by way of competent evidence. In the case at hand, there were two

      components of the damages being claimed by the Plaintiffs. The first component entailed wind

      damages which caused patent and latent openings within (inter alia) the roofing system,
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      structural walls and floors, intersect points between windows, doors and air conditioning

      systems which intersected with the exterior walls. In said regard, the only countervailing

      evidence presented by way of the Defendant’s experts related to the roofing system and a

      nominal account of roofing and interior areas of the Insured Structures that may have been in

      concurring form damaged as a consequence of Hurricane Irma and wear and tear. That said,

      they did not in any substantive form create an issue of fact in relation to whether piece meal

      repairs would in fact be a less expensive means of rehabilitating an assisted living facility that

      by all accounts, including hundreds of hours of diagnostic testing on the part of the Plaintiffs’

      experts, was engulfed in toxic and corrosive ensuing moisture conditions throughout. See In re

      Chinese-Manufactured Drywall Prods. Liab. Litig., 2017 U.S. Dist. LEXIS 60911 (E.D. La.,

      Apr. 21, 2017) (finding that as it related to class members the Court could reasonably assess the

      minimum cost of repair on a square foot basis); Bray & Gillespie IX, LLC v. Hartford Fire Ins.

      Co., 2009 WL 1046354 (M.D. Fla., May 27, 2009) (As to hurricane damages that the insured’s

      experts attested as resulting in a constructive total loss, the Court held the visible observations

      of the insured’s experts was sufficient, and that in relation to any apportionment of damages

      that were not covered in relation to the damages that caused the alleged total loss, the Jury was

      free to account for same); See Hanna v. Ward Mfg., 723 F. App'x 647, 651 (11th Cir. 2018)

      (noting that although plaintiff questioned reliability of defendant's expert's methodology,

      plaintiffs' own expert relied on the same indicia [*33] and used same criteria in making his own

      assessments. In such cases, courts have typically concluded that because experts from the same

      industry both relied on the same or similar methodology, that the particular methodology

      enjoys at least some level of acceptance in that industry); citing Portis v. State Farm Fire, No.

      1:15-CV-3949-MHC, 2017 WL 3499873, *8 (N.D. Ga. April 11, 2017). Hence, and as a

      matter of law that is to be adjudicated by this Court, the Agreed Value provision of the Policy
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      [D.E. 29-1] governs and the Defendant is bound thereby. See Infinity Yachts v. St. Paul Fire &

      Insurance Co., 655 So. 2d 1259 (Fla. 4th DCA 1995) (in affirming the trial court’s summary

      adjudication of damages as a matter of law, holding that any ambiguity in the insured policy’s

      fixed value of an insured vessel was to be construed against the insurer who had drafted the

      contract for the fixed amount of damages upon a complete loss). This conclusion is further

      supported by the Jury’s finding of $9,280,000 in damages, which on its face, evidences that in

      fact the Jury concluded that there was catastrophic damage for which the Defendant’s experts

      did not provide any course of repair that ran alternative to the Plaintiffs’ three experts’ opinions

      or findings that the vast amount of damage served to qualify a constructive total loss.

      Moreover, and once the Plaintiffs’ experts’ undisputed findings of hundreds of latent findings

      throughout the Insured Structures are accepted, or the Defendant’s expert’s related findings of

      water damages top to bottom are accepted in conjunction with the fact that the Jury did not find

      in favor of the Defendant as to a singular affirmative defense, there is no evidence that the

      Defendant can identify in opposition to its obligation to issue payment in accordance with the

      Policy’s “Agreed Value” provision in association with a constructive total loss. In other words,

      it was possible that only a certain percentage, number of buildings, or areas were concluded by

      the Jury as being subject to demolition and reconstruction, this conclusion runs contrary to the

      Defendant’s own expert’s testimony which confirmed that the water damages were pervasive

      throughout the Insured Structures, and that he could not identify in any meaningful form to

      what degree if any they preexisted the subject loss or were due to a specify cause that was

      excluded under the Policy.

          WHEREFORE, the Plaintiffs, AM Grand Court Lakes and AM 280 Sierra Drive,

   respectfully request that the Court affirms the Jury Verdict as to coverage, grants their directed

   verdict for damages in the corresponding amount of $15,512,500, and thereby enters final
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   judgment in favor of the Plaintiffs for the stated amount for which prejudgment interest is to be

   added from the date that the claim was reported on October 10, 2017. See Fla. Stat. Secs.

   627.71031 and 55.03. Alternatively, the Plaintiffs respectfully request that the Court enters

   Judgment in accordance with its previously filed Rule 54 Motion of record [D.E. 205].


                                CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a true and correct copy of the foregoing was electronically

   delivered via the CM/ECF filing portal on December 9, 2019, on all counsel or parties of record on

   the Service List below.



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